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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY

------------------------------------------------------------------x
                                                                      :
 PALOMINO MASTER LTD., AZTECA                                         :   Civil Case No.: __________________
 PARTNERS LLC, and APPALOOSA LP                                       :
                                                                      :
                             Plaintiffs,                              :
                                                                      :   JURY TRIAL DEMANDED
                                v.                                    :
                                                                      :
 CREDIT SUISSE GROUP AG, AXEL P.                                      :
 LEHMANN, and ULRICH KÖRNER,                                          :
                                                                      :
                             Defendants.                              :
                                                                      :
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                         COMPLAINT AND DEMAND FOR JURY TRIAL
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       Plaintiffs Palomino Master Ltd., Azteca Partners LLC, and Appaloosa LP (collectively,

“Plaintiffs”) are purchasers of Additional Tier One notes (“AT1 Notes”) that were issued by Credit

Suisse Group AG (“Credit Suisse,” “CS,” or the “Company”).                  Plaintiffs, through their

undersigned attorneys, by way of this Complaint and Jury Demand, for their federal securities

claims and New Jersey Racketeer Influenced and Corrupt Organizations Act (“New Jersey RICO”)

claim against Credit Suisse, its former Chairman of the Board Axel P. Lehmann (“Lehmann”), and

its current Chief Executive Officer Ulrich Körner (“Körner,” and, collectively with Credit Suisse

and Lehmann, the “Defendants”), allege the following upon personal knowledge as to themselves

and their own acts, and upon information and belief as to all other matters.

       Plaintiffs’ information and belief is based on, inter alia, an investigation by their attorneys,

which investigation includes, among other things, a review and analysis of: Credit Suisse’s public

filings with the United States Securities and Exchange Commission (“SEC”); Defendants’ public

statements to the financial media and through social media; media reports concerning Credit

Suisse; analyst reports concerning Credit Suisse; and transcripts of conferences involving

Defendants. Many of the facts supporting the allegations contained herein are known only to

Defendants or are exclusively within their custody and/or control. Plaintiffs believe that further

substantial evidentiary support will exist for the allegations in this Complaint after a reasonable

opportunity for discovery.

                                  NATURE OF THE ACTION

       1.      This is an action to recover significant investment losses suffered by investors who

were misled by Defendants’ misrepresentations concerning the financial health of a major

international bank – Credit Suisse – during a fateful week in March 2023 when that bank faced

serious liquidity issues. Defendants falsely represented that Credit Suisse was experiencing

material inflows of liquidity when the opposite was true. They materially misrepresented Credit
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Suisse’s liquidity position as very strong and “getting stronger” at a time when there was a run on

the bank and Credit Suisse was losing billions of dollars in withdrawals on a daily basis.

       2.      Just before the fateful week, on March 10, 2023, another bank – Silicon Valley

Bank (“SVB”) – collapsed, representing the largest bank failure since the 2008 financial crisis.

SVB’s collapse was triggered in large part by a so-called “run on the bank” – significant

withdrawals of cash deposits by SVB customers.

       3.      The collapse of SVB created panic in the financial markets, including with respect

to Credit Suisse, a venerable Swiss banking institution. Switzerland has made banking one of the

pillars of its economy by implementing bank secrecy laws and agreeing to protect assets deposited

in Swiss accounts while remaining neutral in international conflicts.

       4.      Credit Suisse had faced a liquidity crisis just a few months prior, in October 2022,

which it told investors it had weathered. At the time of that liquidity crisis, Credit Suisse’s new

Chairman of the Board – Defendant Lehmann – and its new Chief Executive Officer (“CEO”) –

Defendant Körner – vowed to implement a restructuring of the bank that would strengthen and

improve its liquidity.

       5.      Although Lehmann and Körner told investors that Credit Suisse had turned a corner

in early 2023, in actuality the bank was in an extremely vulnerable position when SVB collapsed

in March 2023.

       6.      Given Credit Suisse’s vulnerable liquidity position at that time, it wanted to avoid

a bank run. A bank run on Credit Suisse could have led to a liquidity crisis, a bailout, or other

actions that would likely result in Körner and Lehmann having to leave their lucrative positions.

       7.      The only way for Körner and Lehmann to prevent this from happening was to

convince Credit Suisse’s customers not to withdraw their money – in effect, to convince them that




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other depositors were not withdrawing their money. To do this, they had to mislead the market

about their loss of deposits and about the weakened liquidity position that Credit Suisse was in. If

their lies were believed, the situation might stabilize and Credit Suisse would continue to exist

with Körner and Lehmann still at the helm, having seemingly weathered a second liquidity crisis.

          8.      To effectuate this plan, on March 14, 2023, Defendant Körner appeared on

Bloomberg Television, where he was asked about Credit Suisse’s position in the wake of SVB.

Körner falsely stated that SVB had not impacted Credit Suisse and that the bank had received

material inflows on March 13. That is, Körner told the market that increases in the bank’s deposits

on March 13 exceeded its withdrawals.

          9.      That was not true. In reality, on March 13, 2023, Credit Suisse had experienced

material outflows of CHF 1.6 billion.1 That is, withdrawals exceeded deposits by CHF 1.6 billion.

Indeed, according to reports, Credit Suisse has admitted privately that Körner’s statement was

false.

          10.     During that same interview, Körner also represented that Credit Suisse’s “liquidity

coverage ratio” was “strong, very strong” and “getting stronger as we speak.” However, that was

not true either, as Credit Suisse’s withdrawals were larger than its deposits.

          11.     On March 15, 2023, Defendant Lehmann was interviewed by Bloomberg at the

Financial Sector Conference in Riyadh, Saudi Arabia, where he added to the false narrative that

Körner had started the prior day. Lehmann suggested that any problems similar to those that were

experienced by SVB had already been addressed by Credit Suisse. He told viewers that Credit

Suisse had already “taken its medicine,” had been “significantly de-risking its balance sheet” for

more than five months, and was ahead of the curve in dealing with potential liquidity issues.


1
    In March 2023, one Swiss Franc (CHF 1) was equal to between $1.06 and $1.10.



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        12.     In response to a question about whether Credit Suisse would allow or accept any

kind of government assistance, Lehmann falsely asserted that it “was not a topic whatsoever.”

However, the next day, Credit Suisse announced its intent to accept CHF $50 billion from the

reserve bank of Switzerland, Switzerland National Bank.

        13.     Another attendee at the Financial Sector Conference in Riyadh on March 15 was

the Chairman of the Saudi National Bank, Ammar Al Khudairy. Shortly after Lehmann spoke, Al

Khudairy was interviewed by a Bloomberg reporter in the hallway of the conference. In response

to a question about whether the Saudi National Bank – which had provided a large capital infusion

to Credit Suisse in October 2022 – would increase its investment in Credit Suisse, Al Khudairy

replied emphatically:     “The answer is absolutely not, for many reasons.”         That statement

heightened investor concern over whether Credit Suisse would experience liquidity issues.

        14.     Later that evening, during an interview with CNA’s Asia Tonight, Körner was

asked how Credit Suisse was “going to stop the bleeding” caused by Al Khudairy’s statement.

Rather than concede that Credit Suisse was experiencing a liquidity crisis, Körner painted a rosy

picture of Credit Suisse’s liquidity position.

        15.     First, Körner reiterated his comments from the previous day that Credit Suisse was

subject to higher liquidity requirements than other smaller banks, which meant that its position

was “not comparable” to SVB’s. He then assured the market that Credit Suisse was not having

liquidity issues, stating that “we fulfill, and overshoot basically, all regulatory requirements. Our

capital, our liquidity basis, is very, very strong.”

        16.     But the fact of the matter was that Credit Suisse’s liquidity position was extremely

tenuous and its situation was not materially different from SVB’s. Like SVB, Credit Suisse was

experiencing material depositor outflows.




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       17.     On Thursday, March 16, 2023, before Swiss markets opened, Credit Suisse issued

a press release disclosing that it intended to exercise an option to borrow up to CHF 50 billion

from the Swiss National Bank.

       18.     Thus, just a few hours after Körner had told CNA that Credit Suisse’s liquidity was

“very, very strong,” and not more than a day after Lehmann publicly stated that Credit Suisse

would not allow any kind of government assistance (it was “not a topic whatsoever”), the bank

accepted an emergency backstop from the Swiss government, becoming the first major global bank

to tap an emergency lifeline since the 2008 financial crisis.

       19.     Just three days later, on Sunday, March 19, 2023, FINMA announced a “merger”

of UBS and Credit Suisse. UBS agreed to pay CHF 3 billion to Credit Suisse shareholders in UBS

stock as part of the deal. The Swiss government agreed to backstop UBS for CHF 9 billion in

losses that it might suffer by taking over Credit Suisse. The Swiss National Bank also agreed to

provide another CHF 200 billion in liquidity.

       20.     In its press release announcing the deal, FINMA asserted that Credit Suisse had

experienced “considerable outflows of client funds,” which “intensified” following the US bank

collapses in March, and that the bank was at risk of becoming illiquid:

               The Credit Suisse Group is experiencing a crisis of confidence,
               which has manifested in considerable outflows of client funds. This
               was intensified by the upheavals in the US banking market in March
               2023. There was a risk of the bank becoming illiquid, even if it
               remained solvent, and it was necessary for the authorities to take
               action in order to prevent serious damage to the Swiss and
               international financial markets.

       21.     As part of the transaction, the AT1 Notes that Plaintiffs had purchased during that

final week were written to zero. FINMA subsequently disclosed that because the merger was

negotiated under “high pressure” circumstances, writing off the AT1 Notes (so that UBS did not

have to pay them) was a “necessary part of the overall package.”


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       22.     On March 23, 2023, in response to significant backlash from blindsided AT1

Noteholders (who had been lied to for a week by Defendants), FINMA issued a press release

providing the purported basis for the write-down. First, FINMA stated that there was a contractual

basis for the write-down due to the occurrence of a viability event triggered by “extraordinary

government support [being] granted.”       Second, FINMA stated that an emergency ordinance it

passed on March 19 expressly authorized the ultimate write-down of the AT1 capital instruments.

       23.     Defendants have since publicly admitted that they knew Credit Suisse was suffering

serious liquidity issues at the beginning of the week of March 13, 2023, and that their statements

to investors during that week were false. FINMA has also issued a report documenting the

numerous systemic and management issues that led to the downfall of Credit Suisse.

       24.     Plaintiffs purchased Credit Suisse AT1 Notes between March 14 and March 19,

2023, during the time when, unbeknownst to Plaintiffs, Defendants were lying to the market about

Credit Suisse’s deteriorating liquidity.

       25.     Plaintiffs bring this action under the federal securities laws and under New Jersey

RICO to recover damages for the losses they suffered as a result of Defendants’ materially false

and misleading misstatements and misconduct.

                                 JURISDICTION AND VENUE

       26.     The claims asserted herein arise under and pursuant to Sections 10(b) and 20(a) of

the Securities Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C. §§ 78j(b) and 78t(a), and

Rule 10b-5 promulgated thereunder, 17 C.F.R. § 240.10b-5, and under New Jersey RICO, N.J.S.A.

§ 2C:41-1, et seq.

       27.     This Court has jurisdiction over the subject matter of this action pursuant to Section

27 of the Exchange Act, 15 U.S.C. § 78aa, and 28 U.S.C. § 1331, and has supplemental jurisdiction

over the New Jersey RICO claim pursuant to 28 U.S.C. § 1367.


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       28.     Venue is proper in this District pursuant to Section 27 of the Exchange Act and 28

U.S.C. § 1391 as the alleged misstatements entered and the subsequent damages took place in this

Judicial District. At all relevant times, Credit Suisse conducted business in New Jersey and

Plaintiffs purchased Credit Suisse AT1 Notes in New Jersey.

       29.     In connection with the acts, transactions and conduct alleged herein, Defendants,

directly or indirectly, used the means and instrumentalities of interstate commerce, including but

not limited to the United States mails, interstate telephone communications, and the facilities of a

national securities market.

                                            PARTIES

I.     Plaintiffs

       30.     Plaintiff Palomino Master Ltd. (“Palomino”) is a British Virgin Islands company

limited by shares whose investment adviser has its main office location in Short Hills, New Jersey.

A list of the dates on which it purchased Credit Suisse AT1 Notes in the United States during the

relevant period is attached hereto as Exhibit A.

       31.     Plaintiff Azteca Partners LLC (“Azteca”) is a Delaware limited liability company

whose investment adviser has its main office location in Short Hills, New Jersey. A list of the

dates on which it purchased Credit Suisse AT1 Notes in the United States during the relevant

period is attached hereto as Exhibit B.

       32.     Plaintiff Appaloosa LP (“Appaloosa”) is a Delaware limited partnership that has its

main office location in Short Hills, New Jersey. Appaloosa acted as investment adviser to

Palomino and Azteca in connection with their purchases of Credit Suisse AT1 Notes.

II.    Defendants

       33.     Defendant Credit Suisse is a Swiss bank with its headquarters in Zurich,

Switzerland. Up until its acquisition by UBS in 2023, Credit Suisse was one of only two Swiss


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large institutional banks (the other being UBS). As of the end of 2022, Credit Suisse held over

half a trillion Swiss Francs in assets and had over 50,000 employees. As part of its capital

requirements, Credit Suisse was required to maintain a certain level of “additional tier 1 capital,”

which it did by selling AT1 Notes. Through its senior executives, Credit Suisse made the

materially false and misleading statements alleged herein.

       34.     Defendant Lehmann is the former Chairman of Credit Suisse’s Board of Directors.

He was elected to the Credit Suisse Board of Directors in October 2021, where he served as Chair

of the Risk Committee, and was elevated to Chairman of the Board in January 2022. Prior to

joining Credit Suisse, Lehmann worked for UBS for many years. Among other high-ranking roles

at UBS, Lehmann served as Chief Operating Officer and President of UBS Switzerland. Prior to

UBS, Lehmann worked as an executive at Zurich Insurance Group. Lehmann made the materially

false and misleading statements that are attributed to him herein. As the Chairman of the Board

of Credit Suisse, Lehmann had the power and authority to control the content of Credit Suisse’s

public statements to the markets.

       35.     Defendant Körner joined Credit Suisse as head of its asset management business in

2021. In July 2022, he was promoted to CEO of the bank. Prior to Credit Suisse, Körner, like

Lehmann, spent many years as an executive at UBS. Körner made the materially false and

misleading statements that are attributed to him herein. As the CEO of Credit Suisse, Körner had

the power and authority to control the content of Credit Suisse’s public statements to the markets.

                                    FACTUAL ALLEGATIONS

I.     Credit Suisse’s Liquidity and Capital Requirements

       36.     During the relevant time period, Credit Suisse was a Swiss banking group

comprised of a wealth management division, a Swiss private bank, an asset management division,

an investment bank, and a capital release unit.


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          37.     As a large Swiss bank, Credit Suisse was subject to liquidity and capital

requirements imposed under the “Basel framework” as well as under Swiss law.

          38.     Credit Suisse told the market that its approach to liquidity was a conservative one,

designed to absorb any unforeseen challenges faced by the bank. In its 2022 annual report issued

on March 14, 2023 (“2022 Annual Report”), which was signed by Defendant Körner, Credit Suisse

stated:

                  Our liquidity and funding policy is designed to ensure that funding
                  is available to meet all obligations in times of stress, whether
                  caused by market events or issues specific to Credit Suisse. To
                  address short-term liquidity stress, we maintain a liquidity pool, as
                  described below, that covers unexpected outflows in the event of
                  severe market and idiosyncratic stress. Our liquidity risk
                  parameters reflect various liquidity stress assumptions. We manage
                  our liquidity profile at a sufficient level such that, in the event we
                  are unable to access unsecured funding, we expect to have
                  sufficient liquidity to sustain operations for a period of time in
                  excess of our minimum limit. 2

          39.     Credit Suisse was subject to a liquidity coverage ratio (or “LCR”). This liquidity

test purported to determine whether the bank’s high-quality liquid assets were sufficient to meet

its (projected) total net cash outflows over a 30-day period.

          40.     With respect to its capital requirements, the Basel framework required Credit Suisse

to maintain, among other things, a minimum common equity tier 1 (“CET1”) of capital in an

amount sufficient to meet a stated percentage of its risk-weighted assets (the “CET1 ratio”), as

well as additional tier 1 (“AT1”) capital.

          41.     Swiss law imposed capital requirements on Credit Suisse beyond those under the

Basel framework, requiring the bank to hold sufficient capital to absorb losses to ensure continuity

of service (known as the “going concern requirement”) and to issue sufficient debt instruments to


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    Unless otherwise noted, bold italic emphasis in quotations has been added.



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fund an orderly resolution without recourse to public resources (known as the “gone concern

requirement”).

       42.       In its 2022 Annual Report, Credit Suisse graphically illustrated the different capital

requirements imposed by the Basel framework and Swiss law:




II.    Credit Suisse’s AT1 Notes

       43.       To generate AT1 capital, Credit Suisse issued AT1 Notes.

       44.       AT1 Notes were a key component for Credit Suisse to maintain its capital structure.

       45.       The idea behind AT1 capital instruments arose out of the 2008 financial crisis.

Faced with both low capital levels and low share prices, European banks looked for a new way to

increase liquidity.




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       46.     The solution was to issue AT1 capital instruments, which function like notes in that

they pay interest and return principal when redeemed by the banks, but are also subject to

contingent features that may make them more akin to equity in times of distress.

       47.     Credit Suisse’s AT1 Notes had a write-down feature pursuant to which the full

principal amount of the notes could be permanently written down to zero, and the notes cancelled,

upon the occurrence of certain specified triggering events.

       48.     There were two categories of triggering events for Credit Suisse’s AT1 Notes: (1)

a “Contingency Event”; and (2) a “Viability Event.”

       49.     A Contingency Event was triggered if Credit Suisse’s CET1 ratio fell below a

certain threshold.

       50.     A Viability Event was triggered if certain conditions occurred at a time when Credit

Suisse was facing insolvency, bankruptcy, or was otherwise unable to carry on as a going-concern.

       51.     The prospectus issued by Credit Suisse in connection with the sale of AT1 Notes

described two ways in which a Viability Event could occur.

       52.     Firstly:

               [FINMA] has notified [Credit Suisse] that it has determined that
               a write-down of the [AT1] Notes, together with the conversion or
               write-down/off of holders’ claims in respect of any and all other
               Going Concern Capital Instruments, Tier 1 Instruments and Tier 2
               Instruments that, pursuant to their terms or by operation of law, are
               capable of being converted into equity or written down/off at that
               time, is, because customary measures to improve [Credit Suisse]’s
               capital adequacy are at the time inadequate or unfeasible, an
               essential requirement to prevent [Credit Suisse] from becoming
               insolvent, bankrupt or unable to pay a material part of its debts as
               they fall due, or from ceasing to carry on its business.

       53.     Or, secondly:

               [C]ustomary measures to improve [Credit Suisse]’s capital
               adequacy being at the time inadequate or unfeasible, [Credit Suisse]
               has received an irrevocable commitment of extraordinary support


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                from the [the Swiss government or the Swiss National Bank]
                (beyond customary transactions and arrangements in the ordinary
                course) that has, or imminently will have, the effect of improving
                [Credit Suisse]’s capital adequacy and without which, in the
                determination of the [FINMA], [Credit Suisse] would have
                become insolvent, bankrupt, unable to pay a material part of its
                debts as they fall due or unable to carry on its business.

        54.     Without AT1 financing, Credit Suisse could not comply with regulatory

requirements.

        55.     Credit Suisse’s AT1 Notes did not have a maturity date – rather, Credit Suisse

would call the notes (i.e., repay them) as soon as contractually permitted (typically after five years).

Although not required to call the notes, prior to March 2023, Credit Suisse always had called its

outstanding AT1 Notes and issued new AT1 Notes at the earliest possible redemption date.

        56.     Likewise, until March 2023 Credit Suisse always had made the interest payments

on the AT1 Notes. Credit Suisse did so even during years when it cut its shareholder dividend.

        57.     Thus, to U.S. investors, Credit Suisse’s AT1 Notes were fixed-income investments

backed by one of the world’s top financial institutions (Credit Suisse). And for Credit Suisse,

attracting those investments was essential to meeting its capital requirements.

III.    Credit Suisse Appears to Weather a Liquidity Crisis in Late 2022

        58.     Between 2018 and mid-2022, Credit Suisse experienced several challenges to its

business.

        59.     In 2018, Credit Suisse was implicated in various corporate scandals involving

clients of the bank, such as Petrobras (a Brazilian energy company) and FIFA (the world governing

body of soccer). In 2019, Credit Suisse was accused of improper surveillance activities. In 2020,

the liquidity freeze caused by the pandemic negatively impacted Credit Suisse, as it did many other

financial institutions. In 2021, Credit Suisse was embroiled in controversy involving two different

funds: Greensill Capital UK and Archegos Capital Management. In the second half of 2021 and


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the first quarter of 2022, Credit Suisse reported quarterly losses. And in mid-2022, the three major

credit agencies all downgraded Credit Suisse’s credit rating.

         60.   Apparently concerned about Credit Suisse’s liquidity position following these

events, FINMA demanded that Credit Suisse take concrete steps to prepare for a crisis.

         61.   In response, Credit Suisse made changes at the very top of its management structure

and implemented a strategic review.

         62.   In January 2022, Credit Suisse appointed Defendant Lehmann as its new Chairman.

Lehmann replaced António Horta-Osório, who resigned just a few months after himself taking the

reins.

         63.   In July 2022, Credit Suisse hired Defendant Körner as its new CEO. Körner

replaced Thomas Gottstein, who had lasted just two years on the job.

         64.   As Credit Suisse’s new leadership was pushing to stabilize the bank, Credit Suisse

unexpectedly experienced a bank run.

         65.   Specifically, on October 1, 2022, a reporter in Australia tweeted that a major

investment bank was “on the brink.” Although the journalist did not mention the name of the

bank, rumors quickly and widely circulated that Credit Suisse was heading for bankruptcy.

         66.   As a result of the ensuing panic, Credit Suisse experienced significantly higher

withdrawals of cash deposits as well as non-renewal of maturing time deposits in early October

2022.

         67.   However, Credit Suisse did not breach its liquidity coverage ratio because it was

still operating under the lower thresholds that had been put in place during the pandemic.

         68.   Credit Suisse also had built up a liquidity buffer at this point due to liquidity risk

management measures that were imposed during the pandemic.




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        69.     Yet, the outflows were significant enough that the head of the Swiss National Bank,

Thomas Jordan, privately suggested that Credit Suisse be nationalized. FINMA and Credit Suisse

management both opposed the concept of nationalization. As a result, Credit Suisse was left to its

own devices to handle the liquidity crunch.

        70.     On October 27, 2022, Credit Suisse announced that it would undertake a strategic

restructuring to reduce risk exposure in its investment banking segment and to strengthen its capital

position across the organization.

        71.     As part of this restructuring, the Saudi National Bank committed to invest CHF 1.5

billion, resulting in total ownership of just under 10% of Credit Suisse’s shares. Credit Suisse

raised a total of CHF 4 billion as part of this restructuring effort.

        72.     Although Credit Suisse suffered further downgrades from the credit rating

agencies, there was no drastic increase in outflows following the new infusion of capital in late

2022.

        73.     Indeed, as the fourth quarter progressed, Credit Suisse reported that outflows

stabilized and, as of the end of 2022, its LCR was 144%.

        74.     Although Credit Suisse appeared to have weathered the crisis in the fall of 2022, it

was subsequently revealed, as set forth in greater detail below, that it had not done nearly enough

to fortify itself and manage its risks.

IV.     The Collapse of SVB Reignites Concerns with Respect to Credit Suisse

        75.     On March 10, 2023, Silicon Valley Bank collapsed, representing the largest bank

failure since the 2008 financial crisis.

        76.     SVB’s collapse was triggered in large part by significant withdrawals of cash

deposits by SVB customers in the wake of a liquidation announcement by a cryptocurrency-

focused bank, Silvergate Capital, two days prior.


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       77.     When SVB collapsed, US regulators immediately stepped in and appointed the

FDIC as receiver.

       78.     The collapse of SVB created panic in the market – especially for banks and bank

depositors.

       79.     Several regional banks suffered significant stock drops as investors started selling

bank stocks that were viewed as risky.

       80.     Another smaller bank, Signature Bank in New York, quickly collapsed in large part

because of increased depositor withdrawals.

       81.     To prevent a widespread financial crisis and to protect the U.S. economy, on March

12, 2023, the U.S. Treasury, Federal Reserve, and FDIC jointly announced that all depositors in

SVB and Signature Bank would be fully insured (even above the $250,000 maximum) for loss of

deposits.

V.     Credit Suisse’s CEO Assures the Market That the Bank’s Financial Condition Is
       “Very Strong”

       82.     The collapse of SVB spurred increased scrutiny of Credit Suisse, particularly

because of the liquidity crisis it experienced in October 2022.

       83.     Depositors who were worried about the safety of their money started withdrawing

billions from Credit Suisse.

       84.     As a result, the bank run that led to SVB’s unexpected collapse posed a new threat

to Credit Suisse that was more acute than that posed to other large banks.

       85.     Credit Suisse’s leadership immediately sought to allay market concerns that Credit

Suisse was experiencing liquidity issues that might subject it to the same risks faced by SVB.

       86.     On March 14, 2023, Defendant Körner appeared on Bloomberg Television and was

questioned about Credit Suisse’s position in the wake of the collapse of SVB. Körner stated that



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SVB’s failure had not impacted Credit Suisse, saying that the bank had received material inflows

on March 13. Körner did not provide any information about the bank’s outflows, thus suggesting

to the market that the bank’s deposits on March 13 significantly exceeded its withdrawals.

          87.   In addition to telling the market that Credit Suisse was not experiencing a bank run,

Körner highlighted the supposedly more stringent Swiss regulatory standards that governed Credit

Suisse.

          88.   Specifically, Körner asserted that SVB’s position was a “very different situation”

from Credit Suisse’s because – as a large Swiss bank – Credit Suisse was subject to “materially

different and higher standards when it comes to capital funding and liquidity.”

          89.   Körner then commented on the purported strength of Credit Suisse’s liquidity and

capital positions. He stated that Credit Suisse’s “liquidity coverage ratio” was “strong, very

strong” and “getting stronger as we speak.”

          90.   Körner further asserted that the CET1 ratio was “very strong at 14.1%” as reported

as of 2022 – and without updating whether there had been a material deterioration in the number

since then.

VI.       Credit Suisse’s Creditor Presentation

          91.   The same day that Körner appeared on Bloomberg Television, Credit Suisse

released a fixed income investor presentation.

          92.   In that presentation, Credit Suisse assured investors that the Company’s capital

structure was strong with a substantial equity cushion below the AT1 Notes.

          93.   Regarding liquidity, Credit Suisse stated that “[d]ecisive action had rebuilt liquidity

coverage ratio from lower levels in the quarter,” and provided the following graphic:




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       94.      The presentation represented that Credit Suisse’s capital exceeded regulatory

requirements:




       95.      In another slide, Credit Suisse expressly stated that AT1 capital was “senior” to

CET1 capital:




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       96.     Finally, on a slide purporting to demonstrate the “Swiss Resolution Regime,”

Credit Suisse stated that the “NCWOL principle” would apply, which it defined as “NCWOL =

No creditor worse off than in liquidation.”

       97.     Another bullet on the same slide stated, “Strict and complete hierarchy of losses is

enforced by law.”

       98.     A footnote to that statement asserted that “FINMA has the possibility but not the

requirement to compensate former shareholders”:




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VII.   Plaintiffs Purchase Credit Suisse’s AT1 Notes

       99.     Plaintiffs Palomino and Azteca, through Appaloosa, began purchasing AT1 Notes

on March 14, 2023.

       100.    They purchased more AT1 Notes over the following five days, amassing a

substantial position by March 19, 2023.

       101.    The AT1 Notes were trading in the United States. In seeking to purchase those

securities on behalf of Palomino and Azteca, Appaloosa received quotes in U.S. dollars.

       102.    Many of the AT1 Notes purchased by Plaintiffs have an International Securities

Identification Number (“ISIN”) beginning with “US”.

       103.    Furthermore, Plaintiffs paid for their purchases of AT1 Notes in U.S. dollars and

through their U.S.-based prime broker, Goldman Sachs.

       104.    The counterparty brokers executing Appaloosa’s trades appear to have been based

in the United States.

       105.    Finally, Appaloosa’s traders – who were the individuals who placed the orders to

purchase AT1 Notes – were all located in New Jersey when the orders were placed.

VIII. Credit Suisse’s Chairman Assures the Market that Allowing Government Assistance
      “Is Not a Topic”

       106.    On March 15, 2023, Defendant Lehmann attended the Financial Sector Conference

in Riyadh, Saudi Arabia.

       107.    Lehmann was a panelist on the first panel of the day, which was broadcast on CNBC

International TV.

       108.    The moderator first asked Lehmann if the issues that had contributed to the

downfall of SVB were similar to the issues that Credit Suisse had identified during its 2022

strategic review.


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       109.    Lehmann responded that the SVB situation was not comparable because SVB was

too concentrated in a specific area that ran into problems. In Credit Suisse’s case, according to

Lehmann, the Company had already “taken its medicine” and had been “significantly de-risking

its balance sheet” for more than five months.

       110.    The moderator then asked Lehmann if Credit Suisse would “allow some kind of

government assistance.” Lehmann responded by resoundingly denying that government assistance

was even being discussed:

               That’s not a topic. Look, we are regulated, we have a strong capital
               ratio, a very strong balance sheet, we are all hands on deck, so that’s
               not a topic whatsoever.

IX.    Credit Suisse’s Largest Shareholder Casts Doubt over the Bank’s Liquidity, but
       Defendants Deny That the Bank Is in Trouble

       111.    Another attendee at the Financial Sector Conference in Riyadh on March 15, 2023,

was the Chairman of the Saudi National Bank, Ammar Al Khudairy (“Al Khudairy”).

       112.    After Lehmann spoke, Al Khudairy was interviewed by a Bloomberg reporter in

the hallway of the conference.

       113.    In response to a question about whether the Saudi National Bank – which had

provided a large capital infusion to Credit Suisse in October 2022 – would increase its investment

in Credit Suisse, Al Khudairy replied emphatically: “The answer is absolutely not, for many

reasons. I’ll cite the simplest reason, which is regulatory and statutory. We now own 9.8% of the

bank — if we go above 10% all kinds of new rules kick in, whether be it by our regulator or the

European regulator or the Swiss regulator.”

       114.    The interview was broadcast by Bloomberg Television with the chyron: “Credit

Suisse Top Shareholder Rules Out More Assistance to the Bank.”




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        115.    In response to this news, Credit Suisse’s share price plummeted by more than 30%.

The price of the AT1 Notes also fell dramatically.

        116.    In an interview with CNA’s Asia Tonight that same day, Körner was asked how

Credit Suisse was “going to stop the bleeding” caused by Al Khudairy’s statement.

        117.    Rather than concede that Credit Suisse was suffering liquidity outflows, Körner

painted a very rosy picture of Credit Suisse’s liquidity position.

        118.    First, he reiterated his comments from the previous day that Credit Suisse was

subject to higher liquidity and capital requirements than other smaller banks, which meant that its

position was “not comparable” to SVB’s.

        119.    He then assured the market that Credit Suisse was not having liquidity issues,

stating that “we fulfill, and overshoot basically, all regulatory requirements. Our capital, our

liquidity basis, is very, very strong.”

        120.    Credit Suisse then tweeted out that exact quote:




X.      Credit Suisse Accepts Government Assistance

        121.    By the afternoon of Wednesday, March 15, 2023, the financial press was reporting

that Credit Suisse was in discussions with Swiss authorities about ways to stabilize the bank.

        122.    Potential options included a public showing of support and a backstop from the

Swiss government.



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       123.   Also reportedly being discussed was a potential deal with UBS, although both

Credit Suisse and UBS were allegedly opposed to a forced takeover of Credit Suisse by UBS.

       124.   Later that day, FINMA and the Swiss National Bank issued a public statement that

Credit Suisse was in compliance with Swiss capital and liquidity requirements, but that the Swiss

National Bank could provide Credit Suisse with liquidity if needed. The statement read:

              FINMA and the SNB issue statement on market uncertainty

              The Swiss Financial Market Supervisory Authority FINMA and the
              Swiss National Bank SNB assert that the problems of certain banks
              in the USA do not pose a direct risk of contagion for the Swiss
              financial markets. The strict capital and liquidity requirements
              applicable to Swiss financial institutions ensure their stability.
              Credit Suisse meets the capital and liquidity requirements imposed
              on systemically important banks. If necessary, the SNB will provide
              CS with liquidity.

              FINMA and the SNB are pointing out in this joint statement that
              there are no indications of a direct risk of contagion for Swiss
              institutions due to the current turmoil in the US banking market.

              Regulation in Switzerland requires all banks to maintain capital and
              liquidity buffers that meet or exceed the minimum requirements of
              the Basel standards. Furthermore, systemically important banks
              have to meet higher capital and liquidity requirements. This allows
              negative effects of major crises and shocks to be absorbed.

              Credit Suisse      meets    regulatory    capital   and    liquidity
              requirements

              Credit Suisse’s stock exchange value and the value of its debt
              securities have been particularly affected by market reactions in
              recent days. FINMA is in very close contact with the bank and has
              access to all information relevant to supervisory law. Against this
              background, FINMA confirms that Credit Suisse meets the higher
              capital and liquidity requirements applicable to systemically
              important banks. In addition, the SNB will provide liquidity to the
              globally active bank if necessary. FINMA and the SNB are
              following developments very closely and are in close contact with
              the Federal Department of Finance to ensure financial stability.




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          125.   The following morning, on Thursday, March 16, 2023, before Swiss markets

opened, Credit Suisse issued a press release disclosing that it intended to borrow up to CHF 50

billion from the Swiss National Bank.

          126.   In the press release, Körner was quoted as saying: “These measures demonstrate

decisive action to strengthen Credit Suisse as we continue our strategic transformation to deliver

value to our clients and other stakeholders. We thank the SNB and FINMA as we execute our

strategic transformation.”

          127.   Thus, just a few hours after Körner told CNA that Credit Suisse’s liquidity was

“very, very strong,” and not more than a day after Lehmann publicly stated that Credit Suisse’s

acceptance of government assistance “was not a topic,” Credit Suisse accepted an emergency

backstop from the Swiss government to try to ward off a liquidity crisis. In doing so, Credit Suisse

became the first major global bank to tap an emergency lifeline since the 2008 financial crisis.

          128.   That same day, according to Reuters, Credit Suisse executives issued a memo to

their employees in the form of “talking points,” stating that the central bank loan did not trigger a

Viability Event.

          129.   Certain employees’ bonuses were paid in securities that incorporated the same

triggers as AT1 write-downs, including a Viability Event. Specifically, 5,000 Credit Suisse

employees had bonuses tied to these triggers. Thus, Credit Suisse’s “talking points” memo would

calm these employees’ fears that their bonuses might not be paid despite the bank’s faltering

liquidity position.

XI.       Swiss Authorities Orchestrate an Emergency Takeover of Credit Suisse by UBS,
          Wiping Out the AT1 Notes

          130.   The loan from the Swiss National Bank did little to boost confidence in Credit

Suisse.



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          131.   On Friday, March 17, 2023, the Wall Street Journal reported that large investors

and other banks had pulled back their exposure to Credit Suisse. In addition, Credit Suisse’s

counterparties were requesting guarantees in order to conduct business with the bank, creating

additional liquidity pressure.

          132.   It was subsequently revealed that Credit Suisse was borrowing more from the Swiss

National Bank than it had announced it intended to borrow, and customer outflows had been as

high as CHF 10 billion per day that week.

          133.   On the afternoon of March 17, 2023, it was reported that UBS was in talks to

acquire Credit Suisse, with both banks’ Boards scheduled to meet over the weekend. However,

there was no reporting, or suggestion, that the deal would require that Credit Suisse AT1 holders

be wiped out.

          134.   The AT1 Notes market received this news positively because investors had not been

led to believe that a takeover by UBS would somehow require a write-down of the notes.

          135.   Market participants apparently believed that UBS would buy out Credit Suisse with

potentially no losses to the AT1 Notes at all.

          136.   However, AT1 investors were completely unaware that Swiss authorities could sell

Credit Suisse to UBS only if the Swiss government provided additional support and agreed to a

write-down of the AT1 Notes.

          137.   On Sunday, March 19, 2023, FINMA announced a merger of UBS and Credit

Suisse.

          138.   UBS agreed to pay CHF 3 billion to Credit Suisse shareholders in UBS stock as

part of the deal. The Swiss government agreed to backstop UBS for CHF 9 billion in losses that




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it might suffer by taking over Credit Suisse. The Swiss National Bank also agreed to provide

another CHF 200 billion in liquidity.

       139.    In its press release announcing the deal, FINMA revealed that Credit Suisse had

experienced significant outflows of funds and that its situation had intensified after the collapse of

SVB:

               The Credit Suisse Group is experiencing a crisis of confidence,
               which has manifested in considerable outflows of client funds. This
               was intensified by the upheavals in the US banking market in March
               2023. There was a risk of the bank becoming illiquid, even if it
               remained solvent, and it was necessary for the authorities to take
               action in order to prevent serious damage to the Swiss and
               international financial markets.

       140.    As part of the transaction, the AT1 Notes were written down to zero. FINMA

subsequently asserted that writing off the AT1 Notes was a “necessary part of the overall package.”

       141.    On March 23, 2023, in response to significant backlash from blindsided AT1

Noteholders, FINMA issued a press release providing the purported basis for the write-down.

       142.    First, FINMA stated that there was a contractual basis for the write-down due to

the occurrence of a Viability Event triggered by “extraordinary government support [being]

granted.” According to FINMA, “Credit Suisse was granted extraordinary liquidity assistance

loans secured by a federal default guarantee” on March 19, 2023.

       143.    Second, FINMA stated that the emergency ordinance it passed on March 19, 2023,

expressly authorized it to instruct Credit Suisse to write down AT1 capital instruments. According

to FINMA, “the Federal Council enacted the Emergency Ordinance on Additional Liquidity

Assistance Loans and the Granting of Federal Default Guarantees for Liquidity Assistance Loans

by the Swiss National Bank to Systemically Important Banks,” which authorized FINMA “to order

the borrower and the financial group to write down Additional Tier 1 capital.”




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XII.    Defendants Change Their Story

        144.     On April 4, 2023, Credit Suisse held its final annual shareholder general meeting.

        145.     Lehmann and Körner both gave speeches during the meeting, expressing remorse

for what had transpired and appearing contrite for the harm that investors had suffered.

        146.     Some of their remarks, however, directly contradicted what they told the market

during the week of March 13, 2023.

        147.     First, Defendants admitted that Credit Suisse was in a weak liquidity position

heading into March 2023, primarily because of the outflows it had experienced in October 2022,

which was flatly inconsistent with their statements on March 14-16 that Credit Suisse had strong

and improving liquidity.

        148.     At the shareholder meeting, Körner stated: “The bank had been significantly

weakened by the strong outflows in October 2022 as a result of unfounded rumors and speculation.

. . . My colleagues on the Executive Board and I also spent a lot of time in reaching out directly

to clients to convince them to stay with the bank or to come back to us. The situation then stabilized

somewhat at the beginning of 2023 in spite of a difficult geopolitical and macroeconomic

environment. But despite all our efforts, we could no longer reverse the loss of trust.”

        149.     Lehmann made a similar comment: “The period from October to March was not

long enough. One legacy issue after another had already seen trust eroded – and with it, patience

dwindled. At that, we failed. It was too late. The bitter reality is that there wasn’t enough time

for our strategy to bear fruit.”

        150.     Second, Defendants admitted that the collapse of SVB had a profound impact on

Credit Suisse, notwithstanding their assurances that what happened to SVB had no bearing on

Credit Suisse.




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        151.    Körner commented: “The sudden collapse of Silicon Valley Bank and Signature

Bank in the US caused shockwaves around the world and triggered a dramatic loss of confidence

in the global financial industry. We were particularly vulnerable at the time.”

        152.    Third, Defendants admitted that they started having concerns at the “beginning” of

the week of March 13.

        153.    Lehmann remarked: “Until the beginning of the fateful week, I believed in a

successful turnaround. However, rising interest rates, inflation, and market volatility shook

sentiment, and following the issues around US banks, there were fears of global contagion. Social

media and digitalization fanned the flames of this fear. This hit us at our most vulnerable in mid-

March.”

        154.    Lehmann remarked that the problems intensified later in the week, but made it clear

that there were problems at the beginning of the week: “[T]he downward spiral of events leading

to this fateful week intensified later in that week, swallowing everything up. The bank could not

be saved.”

XIII. Swiss Prosecutors Investigate the Legality of the Forced Takeover

        155.    On April 2, 2024, Switzerland’s Office of the Attorney General announced that it

was opening an investigation because “numerous aspects of events around Credit Suisse”

warranted investigation and needed to be analyzed to “identify any criminal offences.”

        156.    The prosecutor continued:      “The Office of the Attorney General wants to

proactively fulfil its mandate and responsibility to contribute to a clean Swiss financial center and

has set up a monitoring system so that it can take action immediately on any issues that fall within

its area of responsibility.”




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XIV. FINMA Issues Its Report About the Collapse of Credit Suisse

       157.    On December 19, 2023, FINMA issued a report titled “Lessons Learned from the

CS Crisis.”

       158.    Contrary to Defendants’ representations on March 14 through March 16, 2023,

FINMA asserted that in mid-March 2023, “there was an imminent threat of CS becoming

insolvent” during that fateful week.

       159.    The FINMA report disclosed the amount of daily outflows that Credit Suisse

experienced during the week of March 13, 2023. Unbeknownst to the market at the time, Credit

Suisse was experiencing tens of billions of dollars of material outflows during the “fateful week”:

                                  Date                             Outflows

                   Monday, March 13, 2023               CHF 1.6 billion

                   Tuesday, March 14, 2023              CHF 2.7 billion

                   Wednesday, March 15, 2023            CHF 13.2 billion

                   Thursday, March 16, 2023             CHF 17.1 billion

                   Friday, March 17, 2023               CHF 10.1 billion

       160.    Additionally, because of Credit Suisse’s “acute liquidity problems,” its

counterparties to transactions demanded additional collateral from Credit Suisse, creating further

stress on Credit Suisse’s already precarious liquidity position.

       161.    According to FINMA, Credit Suisse had only one viable option: a merger by

absorption by UBS. In FINMA’s words, this was “the most expedient and proportionate solution

to safeguard the bank’s creditors, the Swiss economy and Switzerland’s financial system as well

as to overcome the crisis of confidence.”




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       162.    Thus, although it meant that AT1 Note investors would see their investments

reduced to zero, FINMA argued that the acquisition by UBS was necessary to protect the integrity

of the Swiss banking system. There was nothing in the terms of the AT1 Notes themselves that

required them to be written down in a sale to UBS. FINMA wrote off the AT1 Notes in order to

make the deal more attractive to UBS.

       163.    FINMA also identified several “problem areas” for Credit Suisse at the time of its

sale to UBS.

       164.    First, Credit Suisse’s strategic revisions had fallen short of and not achieved their

intended purposes. With respect to Credit Suisse’s October 2022 change in strategy, FINMA

found that “CS had made too few far-reaching changes over the years, and measures and strategy

adjustments presented by CS in October 2022 came too late (‘too little, too late’).”

       165.    Second, FINMA also found shortcomings in Credit Suisse’s risk culture.

       166.    Third, FINMA concluded that Credit Suisse paid its executives unjustifiably high

compensation, even in years when the bank suffered huge losses. Specifically, although Credit

Suisse generated a cumulative net loss of CHF 2.1 billion over the past decade, its executives

were paid bonuses of CHF 33 billion during the same period.

       167.    Fourth, following the October 2022 liquidity crisis, Credit Suisse management did

not fully implement necessary measures aimed at strengthening liquidity because doing so would

diminish the bank’s earnings power, and potentially cause further credit rating downgrades.

       168.    Finally, although Credit Suisse may have been in compliance with its LCR

requirement (at least technically) as of mid-March 2023, that did not mean that Credit Suisse was

not having liquidity issues. The more relevant inquiry was whether Credit Suisse had the forex

holdings required to settle payments and transactions, which it did not.




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     DEFENDANTS’ FALSE AND MISLEADING STATEMENTS AND OMISSIONS

I.         Körner’s Misrepresentations on March 14, 2023

           169.   On March 14, 2023, Defendant Körner appeared on Bloomberg Television, where

he was asked about Credit Suisse’s position in the wake of SVB. Körner asserted that SVB had

not impacted Credit Suisse, stating that the bank had received material inflows on March 13.

           170.   This statement, which caused Credit Suisse AT1 Notes to trade at artificially

inflated prices, was materially false and misleading because Credit Suisse had not experienced

material inflows on March 13, 2023. As subsequently revealed by FINMA, but unbeknownst to

the market at the time, Credit Suisse experienced material outflows on March 13 of CHF 1.6

billion.

           171.   During the interview with Bloomberg Television on March 14, 2023, Defendant

Körner referred to SVB’s position as a “very different situation” from SVB’s because – as a large

Swiss bank – Credit Suisse was subject to “materially different and higher standards when it comes

to capital funding and liquidity.” He then emphasized the purported strength of Credit Suisse’s

liquidity, stating that Credit Suisse’s “liquidity coverage ratio” was “strong, very strong” and

“getting stronger as we speak,” and highlighted the ratio as of the end of 2022.

           172.   These statements, which caused Credit Suisse AT1 Notes to trade at artificially

inflated prices, were materially false and misleading because Körner painted a materially

misleading picture of Credit Suisse’s liquidity position. As he later admitted at the April 4, 2023

shareholder meeting, Credit Suisse was in a liquidity crisis at this time, accelerated by the SVB

collapse. Credit Suisse was not in a “very different situation” from SVB because like SVB, Credit

Suisse was unable to stem the large outflows of cash it was experiencing. Just the day before,

Credit Suisse had experienced material outflows of CHF 1.6 billion. Moreover, it was materially

false and misleading for Körner to state that Credit Suisse’s LCR was “strong, very strong” and


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“getting stronger as we speak,” when there had been material outflows and because the bank did

not have the forex holdings required to settle payments and transactions.

II.    Misrepresentations in Credit Suisse’s March 14, 2023 Fixed Income Presentation

       173.    In its fixed income investor presentation released on March 14, 2023, Credit Suisse

stated that it had taken “[d]ecisive actions” to “rebuil[d]” its LCR to 144% as of the end of 2022.

It further stated that its LCR “compare[d] favorably to our peer group” and was expected to

strengthen as a result of the strategic transformation announced in October 2022.

       174.    These statements, which caused Credit Suisse AT1 Notes to trade at artificially

inflated prices, were materially false and misleading because at that time – right after the collapse

of SVB and the U.S. government’s bailout – Credit Suisse was suffering liquidity issues.

Furthermore, it was misleading for Credit Suisse to present its LCR on March 14, 2023, as that

which existed on December 31, 2022, when there had been immediate outflows that materially

impacted Credit Suisse’s liquidity position leading up to the presentation and because the bank did

not have the forex holdings required to settle payments and transactions. Moreover, Credit

Suisse’s LCR did not “compare favorably” to its “peer group” since its closest “peer” was UBS,

the bank that was tapped to take it over and stave the liquidity crisis. Finally, Defendants did not

fully implement necessary measures aimed at strengthening liquidity because doing so would

diminish the bank’s earnings power, and potentially cause further credit rating downgrades, so it

was materially misleading for Credit Suisse to represent that the strategic transformation it

announced was strengthening liquidity.

III.   Lehmann’s Misrepresentations on March 15, 2023

       175.    Lehmann’s televised statements at the Financial Sector Conference in Riyadh on

March 15, 2023, were materially misleading.

       176.    First, Lehmann represented that any problems similar to those that plagued SVB


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had already been addressed by Credit Suisse. He told viewers that Credit Suisse had already “taken

its medicine,” had been “significantly de-risking its balance sheet” for more than five months, and

was essentially ahead of the curve in dealing with potential liquidity issues.

       177.    These statements, which caused Credit Suisse AT1 Notes to trade at artificially

inflated prices, were materially false and misleading because Lehmann painted a materially

misleading picture of Credit Suisse’s liquidity position. Credit Suisse was suffering an active

liquidity crisis at this time, intensified by the SVB collapse. The liquidity issues that Credit Suisse

experienced in October 2022 left the bank in an extremely vulnerable position. As FINMA

determined in its December 2023 report, Credit Suisse’s strategic revisions had fallen short and

not achieved their intended purposes. With respect to Credit Suisse’s October 2022 change in

strategy, FINMA found that the measures were “too little, too late.” In fact, Defendants did not

fully implement necessary measures aimed at strengthening liquidity because doing so would

diminish the bank’s earnings power, and potentially cause further credit rating downgrades.

Indeed, as Lehmann later admitted at the April 4, 2023 shareholder meeting, Credit Suisse had not

fully addressed the issues plaguing the bank before the collapse of SVB.

       178.    Second, Lehmann stridently and unequivocally stated during the interview that

accepting government assistance “was not a topic” for Credit Suisse.

       179.    This statement, which caused Credit Suisse AT1 Notes to trade at artificially

inflated prices, was materially false and misleading because Credit Suisse was in a liquidity crisis

and suffering a bank run. Indeed, Credit Suisse accepted CHF 50 billion in government assistance

just a few hours after Lehmann made this statement.

IV.    Körner’s Misrepresentations on March 15, 2023

       180.    On the evening of March 15, 2023, Körner told CNA’s Asia Tonight that Credit

Suisse was not another SVB because it was subject to higher liquidity and capital requirements.


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He then assured the market that Credit Suisse was not having liquidity issues, stating that “we

fulfill, and overshoot basically, all regulatory requirements. Our capital, our liquidity basis, is

very, very strong.” These statements were then repeated by Credit Suisse on its Twitter account.

       181.      These statements, which caused Credit Suisse AT1 Notes to trade at artificially

inflated prices, were materially false and misleading because they painted a materially misleading

picture of Credit Suisse’s liquidity position. Credit Suisse was suffering an active liquidity crisis

at this time, intensified by the SVB collapse. Credit Suisse was not differently situated from SVB

because, notwithstanding its different liquidity standards, Credit Suisse was – like SVB – unable

to withstand the large outflows it was experiencing. Moreover, it was materially misleading for

Körner to highlight Credit Suisse’s compliance with regulatory requirements when there had been

negative developments that materially impacted Credit Suisse’s liquidity position and because the

bank did not have the forex holdings required to settle payments and transactions. Indeed, just a

few hours later, the Swiss government offered, and Credit Suisse accepted, billions of francs in

government-provided liquidity. Körner’s statements created the false impression that Credit

Suisse did not need liquidity.

                ADDITIONAL ALLEGATIONS OF DEFENDANTS’ SCIENTER

       182.      Plaintiffs repeat and reallege each and every paragraph contained above as if set

forth herein.

       183.      Defendants Lehmann and Körner acted with scienter with respect to the materially

false and misleading statements of material fact set forth above because they knew, or at the very

least recklessly disregarded, that those statements were false and misleading when made. They

also had the motive and opportunity to commit fraud.




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         184.   Following the collapse of SVB, there was intense scrutiny on Credit Suisse’s

liquidity situation because of the October 2022 liquidity crisis that had pushed Credit Suisse to the

brink.

         185.   In response to the October 2022 crisis, Lehmann and Körner announced a strategic

restructuring of Credit Suisse, which was designed to reduce liquidity risk and strengthen the

bank’s capitalization. Lehmann and Körner thus were acutely focused on Credit Suisse’s liquidity

situation, as it had come to define the first act of their leadership of Credit Suisse, and their tenure

would be judged based on their ability to successfully navigate that situation.

         186.   In early 2023, Defendants publicly conveyed that their turnaround plan was

working. Specifically, in announcing Credit Suisse’s fourth quarter results, the bank stated in its

SEC filing (which was signed by Körner):

                Liquidity issues in 4Q22

                [D]uring early 4Q22, Credit Suisse began experiencing significantly
                higher withdrawals of cash deposits as well as non-renewal of
                maturing time deposits. However, as the quarter progressed, these
                outflows stabilized to much lower levels but had not yet reversed by
                year end, and customer deposits declined by CHF 138 billion in
                4Q22. As is normal practice, we also limited our access to the
                capital markets in the period immediately preceding the strategy
                announcements we made on October 27, 2022. While these
                outflows led us to partially utilize liquidity buffers at the Group and
                legal entity level, and we fell below certain legal entity-level
                regulatory requirements, the core requirements of the liquidity
                coverage ratio (LCR) and the net stable funding ratio (NSFR) at the
                Group level were maintained at all times. The Group’s three-month
                average daily LCR was 144% as of the end of 4Q22, improved from
                lower levels earlier in the quarter.

                Remediation plans were prepared, initiated and implemented to
                mitigate these outflows, including accessing the public and private
                markets. We issued over USD 5 billion through three bond sales in
                November and December 2022, which saw strong investor demand,
                and an additional CHF 4 billion through our capital increases. Other
                steps also include certain asset disposals, including the announced
                sale of a significant portion of SPG and other related financing


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                businesses. We would note that the execution of these actions and
                other deleveraging measures, including, but not limited to, in the
                non-core businesses, is also expected to strengthen liquidity ratios
                and, over time, reduce the funding requirements of the Group. As
                is common for banks, we also continue to have access to central
                bank funding sources if required.

        187.    Lehmann and Körner’s strategic restructuring, however, was thrown off the rails

by the bank run spurred by the collapse of SVB in March 2023.

        188.    Entering the week of March 13, 2023, both Lehmann and Körner were intensely

focused on the SVB collapse. Having supposedly successfully steered Credit Suisse through a

liquidity crisis just months after taking over the leadership of the bank, Lehmann and Körner were

aware of how vulnerable Credit Suisse was to a bank run.

        189.    In April 2023, after Credit Suisse was rescued by UBS and the Swiss government

– but with the AT1 Noteholders having been wiped out – both Lehmann and Körner publicly

admitted that they had been aware that Credit Suisse was in trouble once SVB collapsed, which

was flatly inconsistent with their statements in March 2023 that Credit Suisse had strong and

improving liquidity.

        190.    Körner told investors that while Credit Suisse’s liquidity position had “stabilized

somewhat at the beginning of 2023,” Credit Suisse “could no longer reverse the loss of trust” once

SVB collapsed, and Credit Suisse was “particularly vulnerable at the time.”

        191.    Lehmann similarly commented: “The period from October to March was not long

enough. One legacy issue after another had already seen trust eroded – and with it, patience

dwindled. At that, we failed. It was too late. The bitter reality is that there wasn’t enough time

for our strategy to bear fruit.”

        192.    Although Lehmann may have believed early in 2023 that the turnaround strategy

was working, he admitted that by March 13, 2023, he no longer had that view: “Until the beginning



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of the fateful week, I believed in a successful turnaround. However, rising interest rates, inflation,

and market volatility shook sentiment, and following the issues around US banks, there were fears

of global contagion. Social media and digitalization fanned the flames of this fear. This hit us at

our most vulnerable in mid-March.”

       193.    Given their knowledge of how vulnerable Credit Suisse’s liquidity position was at

the time, it was – at the very least – reckless for Körner and Lehmann to tell the market that Credit

Suisse’s liquidity position was strong and that Credit Suisse was differently situated from – and

not susceptible to the same fate as – SVB.

       194.    It was also – at the very least – reckless of Lehmann to tell the market that

acceptance of government assistance was “not a topic whatsoever” on March 15, 2023. The head

of the Swiss National Bank privately suggested that Credit Suisse be nationalized in late 2022, but

Lehmann and Körner had resisted, instead seeking the opportunity to implement their own

turnaround plan for Credit Suisse. Knowing that Credit Suisse was in a weakened state and that

nationalization had already been proposed, it was disingenuous for Lehmann to suggest that

acceptance of government assistance by Credit Suisse was not on the table.

       195.    Indeed, later that day, FINMA and the Swiss National Bank issued a press release

stating that the Swiss National Bank could provide Credit Suisse with liquidity if needed, which

assistance Credit Suisse accepted just a few hours later. To state that the acceptance of such

assistance was not even being contemplated as a possibility on the morning of March 15, 2023,

defies credulity.

       196.    Körner and Lehmann also had a motive to mislead the markets.

       197.    The collapse of SVB caused banking customers to withdraw their money from

financial institutions that were viewed as potentially unstable, which included Credit Suisse.




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       198.     Given Credit Suisse’s vulnerable liquidity position at that time, a large enough bank

run would have led to Körner and Lehmann having to leave their executive positions.

       199.     The only way for Körner and Lehmann to prevent this from happening was to

convince Credit Suisse’s depositors not to withdraw their money, and Credit Suisse counterparties

not to demand additional collateral. To do this, Körner and Lehmann had an incentive to mislead

the market that Credit Suisse was not in the weakened liquidity position that it was in. If their lies

were believed, the situation might stabilize and Credit Suisse might well continue to exist with

Körner and Lehmann at the helm as conquering heroes, having seemingly weathered a second

liquidity crisis. The lies gave them a (false) chance – while the truth did not.

       200.     Additionally, certain members of Credit Suisse management’s bonuses were paid

in securities that would be written down if a Viability Event occurred. Thus, Körner and Lehmann

were incentivized to convince the market that government assistance was not needed (which might

be considered to have triggered a Viability Event) in order to protect their colleagues’ lucrative

compensation.

       201.     Many other factors – which were unknown to the investing public at the time, but

have since been revealed – also establish that Körner and Lehmann acted with scienter.

       202.     The propriety of UBS’s takeover of Credit Suisse is currently being investigated by

Switzerland’s federal prosecutor. The federal prosecutor’s public announcement that it would be

pursuing potential criminal charges around the collapse of Credit Suisse buttresses that there was

intentional wrongdoing.

       203.     FINMA has identified shortcomings in Credit Suisse’s risk culture that existed in

March 2023. Credit Suisse’s complex corporate structure hampered rigorous decision making,




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meaning that Körner and Lehmann were not in the position that they represented they were in to

implement measures to prevent Credit Suisse from suffering a fate similar to SVB.

       204.    FINMA has also disclosed that Credit Suisse’s incentive structure was not aligned

with the interests of the bank’s customers and investors. Credit Suisse paid its executives

unjustifiably high compensation, even in years when the bank suffered huge losses. Körner and

Lehmann were incentivized to preserve Credit Suisse’s independence from the Swiss government

in order to continue to be able to receive lucrative compensation.

       205.    Following an investigation, FINMA has also found that, prior to March 2023,

Körner and Lehmann did not fully implement necessary measures aimed at strengthening liquidity.

They did not do so because these measures would diminish the bank’s earnings power, and

potentially cause further credit rating downgrades. Thus, at the same time they were touting the

strength of Credit Suisse’s liquidity while faced with a bank run, Körner and Lehmann knew that

they had not positioned the bank to survive such a crisis.

       206.    As the most senior executives of Credit Suisse during the relevant time period,

Defendants Körner’s and Lehmann’s scienter is imputable to Credit Suisse.

                               PRESUMPTION OF RELIANCE

       207.    Plaintiffs intend to rely upon the presumption of reliance established by the fraud-

on-the-market doctrine in that, among other things: (a) Defendants made public misrepresentations

or failed to disclose material facts during the relevant time period; (b) the omissions and

misrepresentations were material; (c) the AT1 Notes traded in an efficient market; (d) the

misrepresentations alleged would tend to induce a reasonable investor to misjudge the value of

AT1 Notes; and (e) Plaintiffs purchased Credit Suisse AT1 Notes between the time Defendants

misrepresented or failed to disclose material facts and the time when the true facts were disclosed,

without knowledge of the misrepresented or omitted facts.


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       208.    As a result of the aforementioned materially false and misleading statements, Credit

Suisse AT1 Notes traded at artificially inflated prices during the relevant period. The artificial

inflation continued until the time the market fully came to realize the nature and extent of

Defendants’ misrepresentations concerning Credit Suisse’s liquidity issues.

       209.    At all relevant times, the market for Credit Suisse AT1 Notes was efficient for the

following reasons, among others: (a) Credit Suisse filed periodic reports with the SEC; (b)

numerous analysts followed Credit Suisse; and (c) Credit Suisse regularly communicated with

public investors via established market communication mechanisms, including through regular

disseminations of press releases on the major news wire services and through other wide-ranging

public disclosures, such as communications with the financial press, securities analysts and other

similar reporting services.

       210.    Plaintiffs relied on the market price of Credit Suisse AT1 Notes, which reflected all

relevant information in the market, including the misstatements by Defendants.

                              PLAINTIFFS’ ACTUAL RELIANCE

       211.    During the relevant period, Palomino’s and Azteca’s investment in Credit Suisse

AT1 Notes was managed by Appaloosa. Appaloosa made the investment decisions with respect

to the purchases of Credit Suisse AT1 Notes. Factors considered by Appaloosa in making such

decisions included, among other things, Defendants’ statements about Credit Suisse’s purportedly

strong liquidity position, Credit Suisse being differently situated from SVB, and Credit Suisse’s

acceptance of government assistance not being a “topic whatsoever.”

       212.    Prior to making the decision to purchase Credit Suisse AT1 Notes, an Appaloosa

investment professional actually and justifiably read (or listened to), reviewed and relied upon

Körner’s March 14, 2023 interview on Bloomberg television, Credit Suisse’s March 14, 2023 fixed

income presentation, Lehmann’s televised interview at the Financial Sector Conference in Riyadh


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on March 15, 2023, and Körner’s statements on CNA’s Asia Tonight on March 15, 2023,

including: (a) the statements that the bank had received material inflows on March 13, 2023; (b)

the statement that Credit Suisse was in a “very different situation” from SVB’s because – as a large

Swiss bank – Credit Suisse was subject to “materially different and higher standards when it comes

to capital funding and liquidity”; (c) the statement that Credit Suisse’s “liquidity coverage ratio”

was “strong, very strong” and “getting stronger as we speak”; (d) the statements that Credit Suisse

had taken “[d]ecisive actions” to “rebuil[d]” its LCR to 144% as of the end of 2022 and that its

LCR “compare[d] favorably to our peer group” and was expected to strengthen as a result of the

strategic transformation announced in October 2022; (e) the statement that Credit Suisse had

already “taken its medicine,” had been “significantly de-risking its balance sheet” for more than

five months, and was essentially ahead of the curve in dealing with potential liquidity issues; (f)

the statement that Credit Suisse’s acceptance of government assistance “was not a topic

whatsoever” for Credit Suisse on March 15; and (g) the statement that Credit Suisse was not having

liquidity issues, and that “we fulfill, and overshoot basically, all regulatory requirements. Our

capital, our liquidity basis, is very, very strong.”

        213.    Appaloosa actually and justifiably relied upon statements made during Körner’s

March 14, 2023 interview on Bloomberg television, Credit Suisse’s March 14, 2023 fixed income

presentation, Lehmann’s televised interview at the Financial Sector Conference in Riyadh on

March 15, 2023, and Körner’s statements on CNA’s Asia Tonight on March 15, 2023 (to the extent

each such statement was made at the time) in making each purchase of Credit Suisse AT1 Notes

as set forth on Exhibits A and B.

                                        LOSS CAUSATION

        214.    As the truth about Credit Suisse’s faltering liquidity position and its acceptance of

government assistance gradually and slowly leaked into the market – and as the foreseeable risks


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previously concealed by Defendants’ material misstatements and omissions partially materialized

– the price of Credit Suisse AT1 Notes dropped precipitously.

        215.   Defendants’ wrongful conduct, as alleged herein, directly and proximately caused

the economic loss suffered by Plaintiffs. During the time that Plaintiffs purchased Credit Suisse

AT1 Notes, as set forth in Exhibits A and B, the market price of those securities was artificially

inflated as a direct result of Defendants’ materially false and misleading statements. Specifically,

Defendants’ false and misleading statements about Credit Suisse’s liquidity and whether it would

accept government assistance caused the price of Credit Suisse AT1 Notes to be artificially

inflated.

        216.   Plaintiffs’ losses were the result of a series of partial but inadequate disclosures

correcting the prior false and misleading statements with respect to Credit Suisse’s faltering

liquidity position and its acceptance of government assistance. As the foreseeable risks previously

concealed by Defendants’ material misstatements and omissions partially materialized, the price

of Credit Suisse AT1 Notes declined precipitously, damaging Plaintiffs.

        217.   On March 15, 2023, the Chairman of the Saudi National Bank, Al Khudairy, was

interviewed by a Bloomberg reporter in the hallway of the Financial Sector Conference in Riyadh.

In response to a question about whether the Saudi National Bank – which had provided a large

capital infusion to Credit Suisse in October 2022 – would increase its investment in Credit Suisse,

Al Khudairy replied emphatically: “The answer is absolutely not, for many reasons. I’ll cite the

simplest reason, which is regulatory and statutory. We now own 9.8% of the bank — if we go

above 10% all kinds of new rules kick in, whether be it by our regulator or the European regulator

or the Swiss regulator.” The interview was broadcast by Bloomberg Television with the chyron:

“Credit Suisse Top Shareholder Rules Out More Assistance to the Bank.”




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        218.    In response to this news, the price of Credit Suisse’s AT1 Notes fell. For example,

the Credit Suisse issued AT1 Note identified by ISIN number US225401AJ72 fell from a closing

price of 72.42 cents on the dollar on March 14, 2023 to 38.53 cents on the dollar on March 15,

2023 per TRACE data. AT1 Notes generally fell by approximately 40-50% of their March 14,

2023 closing prices by the close of trading on March 15, 2023.

        219.    On Friday, March 17, 2023, the Wall Street Journal reported that large investors

and other banks had pulled back their exposure to Credit Suisse. That afternoon, it was reported

that UBS was in talks to acquire Credit Suisse, with both banks’ Boards scheduled to meet over

the weekend.

        220.    In response to this news, the price of Credit Suisse’s AT1 Notes fell. For example,

the Credit Suisse issued AT1 Note identified by ISIN number US225401AJ72 fell from a closing

price of 37.19 on March 16, 2023 to 25.08 at close on March 17, 2023. AT1 Notes generally fell

by significant amounts as between their March 16, 2023 closing prices by the close of trading on

March 17, 2023.

        221.    The Wall Street Journal article was released during traditional market hours.

        222.    AT1 Note trading continued OTC over the weekend, with certain brokers keeping

their trading desks open to allow for AT1 Note trading.

        223.    On Sunday, March 19, 2023, FINMA announced a “merger” of UBS and Credit

Suisse. UBS agreed to pay CHF 3 billion to Credit Suisse shareholders in UBS stock as part of

the deal. The Swiss government agreed to backstop UBS for CHF 9 billion in losses that it might

suffer by taking over Credit Suisse. The Swiss National Bank also agreed to provide another CHF

200 billion in liquidity.

        224.    In its press release announcing the deal, FINMA stated:




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               The Credit Suisse Group is experiencing a crisis of confidence,
               which has manifested in considerable outflows of client funds. This
               was intensified by the upheavals in the US banking market in March
               2023. There was a risk of the bank becoming illiquid, even if it
               remained solvent, and it was necessary for the authorities to take
               action in order to prevent serious damage to the Swiss and
               international financial markets.

       225.    As part of the transaction, FINMA instructed Credit Suisse to write the AT1 Notes

to zero. FINMA subsequently disclosed that because the merger was negotiated under “high

pressure” circumstances, writing off the AT1 Notes (so that UBS did not have to pay for them)

was a “necessary part of the overall package.”

       226.    AT1 Notes were cancelled as a result of the UBS transaction. AT1 Notes thus had

zero value as of market open on March 20, 2023.

       227.    Trading in what were now effectively claims related to the AT1 Notes continued,

with AT1 Note claims generally trading at 3 to 4 cents on the dollar, far below the prices on March

17, 2023. For example, Credit Suisse issued AT1 Note identified by ISIN number US225401AJ72

was cancelled by the UBS transaction. At close of trading on March 17, 2023, the Note was trading

at 25.08. By close of trading on March 20, 2023, claims related to the Note were trading at 3.3 –

a fall of nearly 90%.

       228.    In the alternative, Plaintiffs’ losses are the result of a market for AT1 Notes being

created on March 14, 2023 and continuing through the cancellation of the AT1 Notes immediately

coinciding with the UBS merger, which would not have existed absent Defendants’ material

misrepresentations. As of March 14, 2023, Credit Suisse was already suffering material outflows

and a bank run. Had Defendants admitted the full truth regarding the material outflows and the

bank run on March 14, 2023, instead of making false and misleading statements, the market for

AT1 Notes would have effectively ceased to exist. Without Defendants’ misrepresentations,

depositor outflows would have occurred faster, counter-party collateral calls would have occurred


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faster, and the acceptance by Credit Suisse of government assistance, followed by the cancellation

of the AT1 Notes, would have occurred faster, if not immediately. Ultimately, Defendants’

misrepresentations were not successful in saving Credit Suisse from a takeover by UBS, having

only succeeded in buying Defendants a week of time. Without the misrepresentations, which

reassured not just AT1 Noteholders but also depositors, creditors, counterparties, and the like,

Credit Suisse would have been forced into a rescue as early as March 14, 2023, and thus the market

for AT1 Notes would have ceased to exist as early as March 14, 2023. This is because AT1 Notes

did not simply lose value as a result of the UBS takeover, but were actually cancelled as securities

entirely. Plaintiffs are entitled to the full value paid for the AT1 Notes.

       229.    In the alternative, Plaintiffs’ losses are the result of being denied the benefit of the

bargain to which an AT1 Noteholder was entitled. With Plaintiffs having purchased AT1 Notes

as a result of Defendants’ fraudulent conduct and thus becoming the rightful beneficiaries of the

AT1 Notes they purchased, Plaintiffs had a right to the bargain in which they engaged. They had

an expectation that the interest payments would be made, and the notes redeemed by Credit Suisse

in due course. Instead, the Notes were ultimately cancelled. If Defendants’ false statements had

been accurate, had Credit Suisse in fact had a strong liquidity position, had the acceptance of

government assistance not been a topic, and had Credit Suisse no parallels to SVB, Credit Suisse

would have survived the fateful week and AT1 Noteholders, including Plaintiffs, would have every

expectation of being redeemed in full. Plaintiffs are entitled to the full redemption value of the

AT1 Notes they purchased as a result of Defendants’ fraud.

                                       NO SAFE HARBOR

       230.    The statutory safe harbor provided for forward-looking statements under certain

circumstances does not apply to any of the allegedly false statements pleaded in this Complaint.

The specific statements pleaded herein were not “forward-looking statements” nor were they


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identified as “forward-looking statements” when made. Nor was it stated with respect to any of

the statements forming the basis of this Complaint that actual results “could differ materially from

those projected.” To the extent there were any forward-looking statements, there were no

meaningful cautionary statements identifying important factors that could cause actual results to

differ materially from those in the purportedly forward-looking statements. Alternatively, to the

extent that the statutory safe harbor does apply to any forward-looking statements pleaded herein,

Defendants are liable for those false forward-looking statements because at the time each of those

forward-looking statements was made, the particular speaker knew that the particular forward-

looking statement was false, and/or the forward-looking statement was authorized and/or approved

by an executive officer of Credit Suisse who knew that those statements were false when made.

                                      NEW JERSEY RICO

        231.    Defendants also violated New Jersey’s Racketeer Influenced and Corrupt

Organizations Act, N.J.S.A. § 2C-41-1, et seq., which prohibits the involvement in the affair of an

enterprise through a pattern of racketeering activity.

        232.    Defendants were employed by or associated with an enterprise and conducted the

affairs of that enterprise through a pattern of racketeering activity, and Defendants conspired to

conduct that illicit activity.

        233.    Starting at least in October 2022, Defendants created an illegal enterprise at Credit

Suisse designed to prevent a run on the bank through the dissemination of false and misleading

statements concerning Credit Suisse’s liquidity position. This enterprise purposefully enriched its

members, including Defendants, by delaying the collapse of the bank until mid-March 2023.

        234.    On October 1, 2022, a reporter in Australia tweeted that a major investment bank

was “on the brink.” Although the journalist did not mention the name of the bank, rumors quickly

and widely circulated that Credit Suisse was heading for bankruptcy.


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        235.   As a result of the ensuing panic, Credit Suisse experienced significantly higher

withdrawals of cash deposits as well as non-renewal of maturing time deposits in early October

2022.

        236.   The outflows were significant enough that the head of the Swiss National Bank

privately suggested that Credit Suisse be nationalized. Defendants opposed the concept of

nationalization.

        237.   On October 27, 2022, Credit Suisse announced that it would undertake a strategic

restructuring to reduce risk exposure in its investment banking segment and to strengthen its capital

position across the organization.

        238.   Defendants told the market that these measures were working. In announcing

Credit Suisse’s fourth quarter results, Defendants represented that they had weathered the liquidity

crisis in October 2022 and “prepared, initiated, and implemented” remediation plans to mitigate

the impact of the liquidity outflows. They further represented that Credit Suisse’s liquidity

position was expected to strengthen because of Defendants’ “execution of these actions and other

deleveraging measures.”

        239.   However, as FINMA has now revealed following an investigation, Defendants did

not fully implement necessary measures aimed at strengthening liquidity because these measures

would diminish the bank’s earnings power, and potentially cause further credit rating downgrades,

which would negatively impact Defendants.

        240.   FINMA also identified shortcomings in Credit Suisse’s risk culture.

        241.   Defendants had financial incentives for conducting a pattern of racketeering

activity. Credit Suisse paid its executives unjustifiably high compensation, even in years when the

bank suffered huge losses. Specifically, although Credit Suisse generated a cumulative net loss of




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CHF 2.1 billion over the past decade, its executives were paid bonuses of CHF 33 billion during

the same period.

        242.    The enterprise’s pattern of racketeering intensified with the fall of SVB in March

2023. Having survived a liquidity crisis in October 2022, Credit Suisse was susceptible to a bank

run when the collapse of SVB sent shockwaves through the global banking industry.

        243.    The only way for Körner and Lehmann to prevent a bank run from happening was

to convince Credit Suisse’s depositors not to withdraw their money, and Credit Suisse

counterparties not to demand additional collateral. To do this, Körner and Lehmann had to mislead

the market that Credit Suisse was not in the weakened liquidity position that it was in. If their lies

were believed, the situation might stabilize and the enterprise could continue.

        244.    During the week of March 13, 2023, Defendants made a series of material

misrepresentations concerning Credit Suisse’s outflows, its liquidity, and whether it would accept

government assistance, as detailed in paragraphs 169 through 181 above.

        245.    Each of the enterprise’s intentional misrepresentations constitutes a violation of

Sections 10(b) of the Exchange Act and gives rise to a separate claim of securities fraud, and, as

such, each constitutes a separate predicate act of racketeering under New Jersey RICO.

        246.    The enterprise’s material misstatements and omissions caused Credit Suisse’s AT1

Notes to trade at artificially inflated prices.

        247.    As detailed in paragraphs 169 through 181 above, the statements were materially

false and/or misleading because:

                (a)     Credit Suisse had not experienced material inflows on March 13, 2023.
                        Credit Suisse experienced material outflows on March 13 of CHF 1.6
                        billion;

                (b)     Credit Suisse’s liquidity position was weakening, not getting stronger at that
                        time;



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               (c)     Credit Suisse was the subject of a bank run by March 13, 2023;

               (d)     Credit Suisse did not have the forex holdings required to settle payments
                       and transactions at that time;

               (e)     Defendants did not fully implement necessary measures aimed at
                       strengthening liquidity after October 2022 because doing so would diminish
                       the bank’s earnings power, and potentially cause further credit rating
                       downgrades;

               (f)     Defendants’ strategic revisions announced in October 2022 had fallen short
                       of and not achieved their intended purposes by March 2023; and

               (g)     Whether Credit Suisse would accept government assistance – rather than
                       not being a “topic whatsoever – was something being considered by the
                       enterprise on March 15, 2023.

       248.    As detailed in paragraphs 214 through 229 above, Defendants’ violation of New

Jersey RICO caused injuries to Plaintiffs’ property.

       249.    During the time that Plaintiffs purchased Credit Suisse AT1 Notes, the market price

of those securities was artificially inflated as a direct result of Defendants’ materially false and

misleading statements. Plaintiffs’ losses were the result of a series of partial but inadequate

disclosures correcting the prior false and misleading statements with respect to Credit Suisse’s

faltering liquidity position and its acceptance of government assistance. As the foreseeable risks

previously concealed by Defendants’ material misstatements and omissions partially materialized,

the price of Credit Suisse AT1 Notes declined precipitously, damaging Plaintiffs.

       250.    In the alternative, Plaintiffs’ losses are the result of a market for AT1 Notes being

created on March 14, 2023, and continuing through the cancellation of the AT1 Notes immediately

coinciding with the UBS merger, which would not have existed absent Defendants’ material

misrepresentations.

       251.    In the alternative, Plaintiffs’ losses are the result of being denied the benefit of the

bargain to which an AT1 Noteholder was entitled.



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       252.     The enterprise’s scheme had substantial contacts with the state of New Jersey.

       253.     Credit Suisse is registered to do business, and maintains offices in, New Jersey.

       254.     Appaloosa maintains its principal place of business in Short Hills, New Jersey.

       255.     Appaloosa’s traders – who were the individuals who placed the orders to purchase

AT1 Notes – were all located in New Jersey when the orders were placed.

       256.     The scheme thus had numerous, significant, foreseeable, and intended adverse

effects in New Jersey.

                                  FIRST CAUSE OF ACTION

                Violations of Section 10(b) of the Exchange Act and Rule 10b-5
                  By Plaintiffs Palomino and Azteca Against All Defendants

       257.     Plaintiffs repeat and reallege each and every paragraph contained above as if set

forth herein.

       258.     This cause of action is brought by Plaintiffs Palomino and Azteca against

Defendants Credit Suisse, Lehmann, and Körner for violations of Section 10(b) of the Exchange

Act, 15 U.S.C. § 78j, and Rule 10b-5 promulgated thereunder, 17 C.F.R. § 240.10b-5.

       259.     Defendants Credit Suisse, Lehmann, and Körner both directly and indirectly used

the means and instrumentalities of interstate commerce in the United States to make the materially

false and misleading statements and omissions of material fact alleged herein to: (i) deceive the

investing public, including Plaintiffs, as alleged herein; (ii) artificially inflate and maintain the

market price of Credit Suisse AT1 Notes; and (iii) cause Plaintiffs to purchase Credit Suisse AT1

Notes at artificially inflated prices. In furtherance of this unlawful scheme, plan and course of

conduct, Credit Suisse, Lehmann, and Körner took the actions set forth above.

       260.     Defendants Credit Suisse, Lehmann, and Körner both directly and indirectly: (i)

employed devices, schemes and artifices to defraud; (ii) made untrue statements of material fact



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and/or omitted to state material facts necessary to make the statements not misleading; and (iii)

engaged in acts, practices, and a course of business that operated as a fraud and deceit upon the

purchasers of Credit Suisse AT1 Notes in an effort to artificially inflate and maintain the market

prices for Credit Suisse AT1 Notes in violation of Section 10(b) of the Exchange Act and Rule

10b-5.

         261.   By virtue of their high-level positions at the Company, Lehmann and Körner were

authorized to make public statements, and made public statements on Credit Suisse’s behalf.

These senior executives were privy to and participated in the creation, development, and issuance

of the materially false and misleading statements alleged herein, and/or were aware of the

Company’s and their own dissemination of information to the investing public that they recklessly

disregarded was materially false and misleading.

         262.   In addition, Credit Suisse, Lehmann, and Körner had a duty to disclose truthful

information necessary to render their affirmative statements not materially misleading so that the

market price of the Company’s securities would be based on truthful, complete, and accurate

information.

         263.   Defendants Credit Suisse, Lehmann, and Körner acted with knowledge or reckless

disregard for the truth of the misrepresented and omitted facts alleged herein, in that they failed to

ascertain and disclose the facts, even though such facts were known or readily available to them.

Defendants Credit Suisse’s, Lehmann’s, and Körner’s material misrepresentations and omissions

were done knowingly and/or recklessly, and had the effect of concealing the truth with respect to

Credit Suisse’s operations, business, performance, and prospects from the investing public,

including misreporting Credit Suisse’s purportedly strong liquidity position and supposed ability

to withstand a bank run caused by the collapse of SVB. By concealing these material facts from




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investors, Credit Suisse, Lehmann, and Körner supported the artificially inflated price of Credit

Suisse’s AT1 Notes.

        264.   The dissemination of the materially false and misleading information and failure to

disclose material facts, as set forth above, artificially inflated the market price of Credit Suisse’s

AT1 Notes. In ignorance of the fact that the market prices were artificially inflated, and relying

directly or indirectly upon the materially false and misleading statements made by Defendants,

and upon the integrity of the market in which the Company’s securities traded, or upon the absence

of material adverse information that was recklessly disregarded by Defendants, but not disclosed

in public statements by Defendants, Plaintiffs purchased Credit Suisse’s AT1 Notes at artificially

inflated prices. As a series of partial but inadequate disclosures were issued, the price of Credit

Suisse’s AT1 Notes substantially declined.

        265.   At the time of the material misrepresentations alleged herein, Plaintiffs were

ignorant of their falsity, and believed them to be true. Had Plaintiffs known the truth with respect

to the business, operations, performance, and prospects of Credit Suisse, which was concealed by

Defendants, Plaintiffs would not have purchased Credit Suisse’s AT1 Notes, or if they had

purchased such securities, they would not have done so at the artificially inflated prices that they

paid.

        266.   By virtue of the foregoing, Defendants Credit Suisse, Lehmann, and Körner have

violated Section 10(b) of the Exchange Act and Rule 10b-5 promulgated thereunder.

        267.   As a direct and proximate result of Defendants’ wrongful conduct, Plaintiffs have

suffered damages in connection with their transactions in the Company’s securities.

        268.   Plaintiffs have brought this claim within two years of discovery of the violations

alleged herein, and within five years of the violations alleged herein.




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                                 SECOND CAUSE OF ACTION

                        Violations of Section 20(a) of the Exchange Act
        By Plaintiffs Palomino and Azteca Against Defendants Lehmann and Körner

       269.    Plaintiffs repeat and reallege each and every allegation contained in each of the

foregoing paragraphs as if set forth fully herein.

       270.    This cause of action is asserted by Plaintiffs Palomino and Azteca against

Defendants Lehmann and Körner and is based upon Section 20(a) of the Exchange Act, 15 U.S.C.

§ 78t(a).

       271.    Each of Defendants Lehmann and Körner was a controlling person of Credit Suisse

within the meaning of Section 20(a) of the Exchange Act.

       272.    By virtue of their high-level positions, and their ownership and contractual rights,

substantial participation in, and/or awareness of, the Company’s operations and/or knowledge or

reckless disregard of the materially false and misleading statements disseminated to the investing

public, Defendants Lehmann and Körner had the power to influence and control, and did in fact

influence and control, directly or indirectly, the decision-making of the Company.

       273.    Defendants Lehmann and Körner were provided with or had unlimited access to

copies of the Company’s statements alleged herein to be materially false and misleading prior to

and/or shortly after these statements were issued and had the ability to prevent the issuance of the

statements or cause the statements to be corrected. In particular, Defendants Lehmann and Körner

each had direct and supervisory involvement in the day-to-day operations of the Company, and

therefore are presumed to have had the power to control or influence the particular false and

misleading statements and omissions giving rise to the securities violations alleged herein.

       274.    Defendants Lehmann and Körner culpably participated in Credit Suisse’s violation

of Section 10(b) and Rule 10b-5 with respect to the First Cause of Action.



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       275.      By reason of the conduct alleged in the First Cause of Action, Credit Suisse is liable

for violations of Section 10(b) of the Exchange Act and Rule 10b-5 promulgated thereunder, and

Defendants Lehmann and Körner are liable pursuant to Section 20(a) based on their control of

Credit Suisse.

       276.      Defendants Lehmann and Körner are liable for the aforesaid wrongful conduct, and

are liable to Plaintiffs for the substantial damages suffered in connection with their purchases of

Credit Suisse AT1 Notes.

       277.      Plaintiffs have brought this claim within two years of discovery of the violations

alleged herein, and within five years of the violations alleged herein.

                                   THIRD CAUSE OF ACTION

                         Racketeering in Violation of N.J.S.A. 2C:41-2(c)
                            By All Plaintiffs Against All Defendants

       278.      Plaintiffs repeat and reallege each and every paragraph contained above as if set

forth herein.

       279.      This cause of action is asserted by all Plaintiffs against Defendants Credit Suisse,

Lehmann, and Körner. Defendants are persons within the meaning of N.J.S.A. 2C:41-1(b).

       280.      Defendants comprise an association, associations, and/or associated-in-fact

enterprise as defined in N.J.S.A. 2C:41-1(c). The enterprise has an existence beyond that which

is merely necessary to commit predicate acts and, among other things, oversaw and coordinated

the commission of numerous predicate acts on an on-going basis in furtherance of the scheme and

efforts to conceal the scheme, each of which caused direct injury to Plaintiffs. The enterprise was

operated, managed, and controlled by, among others, Credit Suisse, Lehmann, and Körner.

       281.      Defendants willfully conducted and participated in the enterprise’s scheme through

a pattern of racketeering activity within the meaning of N.J.S.A. 2C:41-1(d). Defendants’ conduct



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involved more than two incidents of racketeering conduct, and therefore constituted a pattern of

racketeering activity within the meaning of N.J.S.A. 2C:41-1(d). This pattern consisted of

repeated, continuous incidents of racketeering activity that had the same or similar purposes,

results, participants, victims, or methods of commission, and are interrelated by distinguishing

characteristics rather than isolated incidents within the meaning of N.J.S.A. 2C:41-1(d)(2).

          282.   The purpose of the enterprise was to prevent a run on the bank through the

dissemination of false and misleading statements concerning Credit Suisse’s liquidity position.

This extensive scheme was intended to, and did, provide substantial profits to the enterprise’s

members and caused enormous harm to Plaintiffs. Defendants operated the enterprise, and

achieved these objectives by the conduct of racketeering activity, as described above.

          283.   Defendants knowingly and intentionally participated in the conduct of the

enterprise, and the entities and enterprises associated with the enterprise, directly and indirectly

through a pattern of racketeering activity, including by committing, among others, numerous

predicate acts of fraud in the offering, sale, and purchase of securities in violation of 15 U.S.C. §

78j(b) and 17 C.F.R. § 240.10b-5, which are incorporated as racketeering activity under of N.J.S.A.

2C:41-1(a)(1)(p).

          284.   Each of the predicate acts was for the purpose of executing the enterprise’s

fraudulent scheme, and Defendants engaged in such acts with the specific intent of furthering that

scheme, willfully and with knowledge of its illegal and fraudulent nature. Defendants performed

or participated in the performance of at least two of the predicate acts of securities fraud set forth

herein.

          285.   The conduct and actions set forth herein were related to each other by virtue of

common participants, common victims, common methods, and the common purpose and common




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result of a concerted campaign of misinformation concerning Credit Suisse’s liquidity situation to

prevent a bank run and to enrich the members of the enterprise to the harm and detriment of

Plaintiffs, among others. Defendants’ activities were interrelated, not isolated, and involved a

calculated series of repeated violations of the law in order to conduct, conceal, and promote

fraudulent activity. The enterprise existed with the members identified herein and others yet

unknown since at least October 2022, and the conduct and activities continued through at least

March 2023.

       286.     Defendants’ willful and knowing direct and indirect participation in the enterprise’s

affairs through the pattern of racketeering and activity described herein constitutes a violation of

N.J.S.A. 2C:41-2(c).

       287.     These violations of N.J.S.A. 2C:41-2(c) caused Plaintiffs to suffer direct injury to

their business and property through massive losses in investment opportunities and gains, and fees

and expenses, caused by the enterprise’s wrongful actions described herein.

       288.     Plaintiffs, therefore, are entitled to recover from Defendants the amount in which

they have been damaged, to be trebled in accordance with N.J.S.A. 2C:41-4(c), together with

interest and the costs of this suit, including reasonable attorneys’ fees.

                                 FOURTH CAUSE OF ACTION

                        Racketeering in Violation of N.J.S.A. 2C:41-2(d)
                           By All Plaintiffs Against All Defendants

       289.     Plaintiffs repeat and reallege each and every paragraph contained above as if set

forth herein.

       290.     This cause of action is asserted by all Plaintiffs against Defendants Credit Suisse,

Lehmann, and Körner. Defendants are persons within the meaning of N.J.S.A. 2C:41-1(b).




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        291.    Beginning as early as October 2022, Defendants and all members of the enterprise

agreed to facilitate the scheme described herein to manage, operate, conduct, and participate in the

conduct of the affairs of the enterprise and conspired to do the same within the meaning of N.J.S.A.

2C:5-2 through a pattern of racketeering activity within the meaning of N.J.S.A 2C:41-2(d).

        292.    Each of the Defendants and enterprise members being persons intimately involved

in the transactions carried on by and the affairs of the enterprise – which was engaged in, and the

activities of which affected, trade and commerce – unlawfully and willfully conspired,

confederated, and agreed with each other to violate N.J.S.A. 2C:41-2(c), that is, to conduct and

participate, directly and indirectly, in the conduct of the affairs of the enterprise, through a pattern

of racketeering activity, all in violation of N.J.S.A. 2C:41- 2(d).

        293.    As part of the conspiracy, Defendants personally committed or agreed to commit

two or more fraudulent and illegal racketeering acts and conducted and agreed to conduct the

affairs of the enterprise through the pattern of racketeering in violation of N.J.S.A. 2C:41-2(c)

described above.

        294.    These violations of N.J.S.A. 2C:41-2(c) caused Plaintiffs to suffer direct injury to

their business and property through massive losses in investment opportunities and gains, and fees

and expenses, caused by the enterprise’s wrongful actions described herein.

        295.    Plaintiffs, therefore, are entitled to recover from Defendants the amount in which

they have been damaged, to be trebled in accordance with N.J.S.A 2C:41-4(c), together with

interest and the costs of this suit, including reasonable attorneys’ fees.




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                                    FIFTH CAUSE OF ACTION

        Aiding and Abetting Racketeering in Violation of N.J.S.A. 2C:41-2(c) and (d)
                By All Plaintiffs Against Defendants Lehmann and Körner

       296.       Plaintiffs repeat and reallege each and every paragraph contained above as if set

forth herein.

       297.       This cause of action is asserted by all Plaintiffs against Defendants Lehmann and

Körner. Defendants Lehmann and Körner are persons within the meaning of N.J.S.A. 2C:41-1(b).

       298.       Defendants Lehmann and Körner aided and abetted the enterprise in executing its

fraudulent scheme and racketeering acts in violation of N.J.S.A. 2C:41-2(c) and (d) alleged herein.

Defendants Lehmann and Körner pursued a common plan and design, and actively participated in,

aided, and encouraged the other enterprise members in executing a pattern of racketeering activity

as defined in N.J.S.A. 2C:41-1 and in violation numerous provisions of New Jersey RICO as

alleged herein.

       299.       Defendants willingly, and substantially participated in the enterprise’s fraudulent

scheme with knowledge of the numerous violations of New Jersey RICO and the underlying

pattern of racketeering activity perpetrated by the enterprise.

       300.       Plaintiffs were injured as a direct and proximate result of Defendants Lehmann’s

and Körner’s aiding and abetting the enterprise’s violations of New Jersey RICO alleged herein.

                                       PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully request relief and judgment, as follows:

       (a)        Awarding compensatory damages against Defendants for all damages sustained as

a result of Defendants’ wrongdoing – including treble damages under New Jersey RICO – in an

amount to be proven at trial, including pre-judgment and post-judgment interest thereon;

       (c)        Awarding Plaintiffs their reasonable costs and expenses incurred in this action; and



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       (d)    Such other and further relief as the Court may deem just and proper.

                                        JURY DEMAND

       The Plaintiffs hereby demand a trial by jury as to all issues so triable.



Dated: April 23, 2024

                                              By:       s/ Lawrence M. Rolnick
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                     CERTIFICATION PURSUANT TO L. CIV. R. 11.2

       I certify that, to the best of my knowledge, the matter in controversy is not the subject of

any other action pending in any court, or of any pending arbitration or administrative proceeding.

       I certify under penalty of perjury that the forgoing is true and correct. Executed on this

23rd day of April 2024.

                                             ROLNICK KRAMER SADIGHI LLP

                                             By: s/ Lawrence M. Rolnick
                                                    Lawrence M. Rolnick
